






NO. 07-05-0001-CV
	


IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



JANUARY 6, 2005



______________________________




KENNETH KENNEDY AND TWILA AUFILL, INDEPENDENT EXECUTRIX


OF THE ESTATE OF JACK L. AUFILL, DECEASED, APPELLANTS



V.



V'RHETT WILLIAMS, APPELLEE




_________________________________



FROM THE 72ND DISTRICT COURT OF CROSBY COUNTY;



NO. 5670; HONORABLE J. BLAIR CHERRY, JUDGE



_______________________________



Before JOHNSON, C.J., and QUINN and REAVIS, JJ.

MEMORANDUM OPINION


	Appellant Twila Aufill, Independent Executrix of the Estate of Jack L. Aufill,
Deceased, and Kenneth Kennedy filed separate notices of appeal challenging the trial
court's judgment in favor of appellee V'Rhett Williams.  Pending before this Court is Aufill's
motion to dismiss her appeal by which she represents that all matters in controversy
between her and Williams have been compromised and settled.  Aufill represents, however,
that appellant Kenneth Kennedy is not a party to the motion to dismiss.  Pursuant to Aufill's
request, by order of severance in cause number 07-04-0498-CV that portion of the appeal
between her and Williams was severed into this cause to consider the motion to dismiss.

	Without passing on the merits of the appeal between Aufill and Williams, we grant 
the motion and dismiss the appeal.  Tex. R. App. P. 42.1(a).  That portion of the appeal
between Kenneth Kennedy and V'Rhett Williams remains pending in cause number 07-04-0498-CV and will proceed in due course.  Having dismissed the appeal between Aufill and
Williams at their request, no motion for rehearing will be entertained and our mandate will
issue forthwith.  Aufill and Williams have agreed to bear their own costs in this appeal.

	It is so ordered. 

							Per Curiam



M&gt;,
65 S.W.3d 133, 134-35 (Tex. App.-Amarillo 2001, orig. proc.).  And, whether that period
lapsed depends upon the circumstances of each case.  Id. at 135.  In other words, no bright
line demarcates the boundaries of a reasonable time period.  Id.  Many indicia are
influential, not the least of which are the date upon which the relief was sought, the length
of time which has since lapsed, the trial court's knowledge of the matter, its overt refusal
to act on same, the state of the court's docket, and the existence of other judicial and
administrative matters which must be addressed first.  Id.  So too must the trial court's
inherent power to control its own docket be included in the mix.  In re Bates, 65 S.W.2d at
135; see Ho v. University of Texas at Arlington, 984 S.W.2d 672, 694-95 (Tex. App.-
Amarillo 1998, pet. denied) (holding that a court has the inherent authority to control its own
docket).  Because that power is discretionary, Hoggett v. Brown, 971 S.W.2d 472, 495
(Tex. App.-Houston [14th Dist.] 1997, no pet.), we must be wary of interfering with its
exercise without legitimate basis.  And, given that the party requesting mandamus relief has
the burden to provide us with a record sufficient to establish his right to it, In re Bates, 65
S.W.2d at 135; Walker v. Packer, 827 S.W.2d 833 (Tex. 1992), Garrett had the obligation
to provide us with a record establishing as a matter of law that the trial court's delay, if any,
was and is unreasonable.  

	To satisfy this burden, Garrett does little else than insinuate that simply because the
trial court acted immediately upon the State's motion to dismiss, it was obligated to similarly
rule upon his motion for rehearing.  While he may so believe, we cannot so hold as a
matter of law.  This is especially true given that a trial judge has at least 75 days from the
date a final order is signed to act upon a motion for new trial or a motion to modify a final
order before the motion is overruled by operation of law.  Tex. R. Civ. P. 329b(c).  If that
rule contemplates a 75-day period, we are hard-pressed to say, as a matter of law, that
withholding action before the expiration of that time constitutes an unreasonable delay. 
And, that period has yet to lapse here.

	Third, and assuming arguendo that a trial court's refusal to act upon a motion of the
kind at bar before it is overruled by operation of law constitutes an abuse of discretion
(something Garrett does not address), Garrett also failed to illustrate that he had no
adequate remedy at law.  That no such remedy exists must be established before
mandamus can issue.  Walker v. Packer, 827 S.W.2d at 840.  Nowhere does he argue that
allowing his motion to be overruled by operation of law, per rule 329b(c), irreparably harms
him.  Indeed, he can always attack the supposed final order of dismissal via an appeal. (1)

	For these reasons, we deny, without prejudice, the petition for writ of mandamus.


                      

		                   				Brian Quinn 

                                                             	              Justice 

                                          
1. Garrett also failed to provide us with a certified copy of the order purporting to dismiss his appeal.


